                          Case 3:16-cv-03463-WHA Document 259 Filed 10/09/20 Page 1 of 3
                                                                                                                                                             EJ-130
ATTORNEY OR PARTY WITHOUT ATTORNEY:                      STATE BAR NO.: 320875
                                                                                                                              FOR COURT USE ONLY
NAME:  John M. Desmarais
FIRM NAME: Desmarais LLP
STREET ADDRESS: 230 Park Ave
CITY: New York                                               STATE:    NY    ZIP CODE: 10169
TELEPHONE NO.: 212-351-3400                                 FAX NO.:   212-351-3401
E-MAIL ADDRESS: jdesmarais@desmaraisllp.com

ATTORNEY FOR (name): Cisco Systems, Inc.
                         ORIGINAL JUDGMENT CREDITOR              ASSIGNEE OF RECORD

xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
SUPERIOR COURT OF CALIFORNIA, COUNTY OF U.S. DISTRICT CT. N.D. CALIFORNIA
 STREET ADDRESS:   450 Golden Gate Ave.
 MAILING ADDRESS:  Box 36060
CITY AND ZIP CODE: San Francisco, CA 94102-3489
     BRANCH NAME:

                                                                                                            CASE NUMBER:
  Plaintiff: Straight Path IP Group, Inc.
Defendant: Cisco Systems, Inc.                                                                               3:16-cv-03463-WHA

                         EXECUTION (Money Judgment)                                                               Limited Civil Case
                                                                                                                  (including Small Claims)
WRIT OF                  POSSESSION OF                    Personal Property
                                                                                                                  Unlimited Civil Case
                         SALE                             Real Property
                                                                                                                  (including Family and Probate)

1. To the Sheriff or Marshal of the County of: Northern District of California
   You are directed to enforce the judgment described below with daily interest and your costs as provided by law.
2. To any registered process server: You are authorized to serve this writ only in accordance with CCP 699.080 or CCP 715.040.
3. (Name): Cisco Systems, Inc.
   is the      original judgment creditor                    assignee of record         whose address is shown on this form above the court’s name.
4. Judgment debtor (name, type of legal entity if not a                 9.         See next page for information on real or personal property to be
   natural person, and last known address):                                        delivered under a writ of possession or sold under a writ of sale.
                                                                        10.        This writ is issued on a sister-state judgment.
                                                                        For Items 11–17, see form MC-012 and form MC-013-INFO
      Straight Path IP Group, Inc.
                                                                        11. Total judgment (as entered or renewed)                $ 1,920,146
      600 Sylvan Ave.
      Suite 402                                                         12. Costs after judgment (CCP 685.090)                    $0
      Englewood Cliffs, NJ 07632
                                                                        13. Subtotal (add 11 and 12)                              $ 1,920,146
                                                                        14. Credits to principal (after credit to interest)       $0
              Additional judgment debtors on next page
                                                                        15. Principal remaining due (subtract 14 from 13) $ 1,920,146
5. Judgment entered on (date):                                          16. Accrued interest remaining due per CCP        $ 672.31
   May 19, 2020                                                             685.050(b) (not on GC 6103.5 fees)
6.      Judgment renewed on (dates):                                    17. Fee for issuance of writ                              $0
                                                                        18. TotaI (add 15, 16, and 17)                            $ 1,920,818.31
                                                                        19. Levying officer:
7. Notice of sale under this writ                                           a. Add daily interest from date of writ (at
   a.        has not been requested.                                           the legal rate on 15) (not on GC
   b.        has been requested (see next page).                               6103.5 fees) . . . . . . . . . . . . . . . .       $ 4.7346
                                                                            b. Pay directly to court costs included in
8.            Joint debtor information on next page.
                                                                               11 and 17 (GC 6103.5, 68637; CCP
  [SEAL]                                                                       699.520(i)) . . . . . . . . . . . . . . . .        $0
                                                                        20.       The amounts called for in items 11–19 are different for each
                                                                                  debtor. These amounts are stated for each debtor on
                                                                                  Attachment 20.

                                                                                           SUSAN Y. SOONG
                                     Issued on (date):   10/9/2020                        Clerk, by
                                                                                                  Thelma Nudo                                              , Deputy
                                           NOTICE TO PERSON SERVED: SEE PAGE 3 FOR IMPORTANT INFORMATION.
                                                                                                                                                             Page 1 of 3

Form Approved for Optional Use
Judicial Council of California
                                                                WRIT OF EXECUTION                                   Code of Civil Procedure, §§ 699.520, 712.010, 715.010
                                                                                                                                              Government Code, § 6103.5
EJ-130 [Rev. January 1, 2018]                                                                                                                          www.courts.ca.gov
                           Case 3:16-cv-03463-WHA Document 259 Filed 10/09/20 Page 2 of 3
                                                                                                                                           EJ-130
                                                                                                      CASE NUMBER:
      Plaintiff: Straight Path IP Group, Inc.
Defendant: Cisco Systems, Inc.                                                                        3:16-cv-03463-WHA


21.           Additional judgment debtor (name, type of legal entity
              if not a natural person, and last known address):

       SPIP Litigation Group, LLC                                                     SPIP Litigation Group, LLC
       c/o VCorp Services, LLC                                                        12 Bradford Place,
       1013 Centre Road, Suite 403-B                                                  Passaic, NJ 07055-2507
       Wilmington, DE 19805
22.           Notice of sale has been requested by (name and address):




23.           Joint debtor was declared bound by the judgment (CCP 989–994)
      a. on (date):                                                                 a. on (date):
      b. name, type of legal entity if not a natural person, and                    b. name, type of legal entity if not a natural person, and
         last known address of joint debtor:                                           last known address of joint debtor:




      c.             Additional costs against certain joint debtors are itemized:           Below         On Attachment 23c



24.           (Writ of Possession or Writ of Sale) Judgment was entered for the following:
      a.         Possession of real property: The complaint was filed on (date):
                 (Check (1) or (2). Check (3) if applicable. Complete (4) if (2) or (3) have been checked.)

           (1)            The Prejudgment Claim of Right to Possession was served in compliance with CCP 415.46. The judgment includes
                          all tenants, subtenants, named claimants, and other occupants of the premises.
           (2)            The Prejudgment Claim of Right to Possession was NOT served in compliance with CCP 415.46.
           (3)            The unlawful detainer resulted from a foreclosure sale of a rental housing unit. (An occupant not named in the
                          judgment may file a Claim of Right to Possession at any time up to and including the time the levying officer returns
                          to effect eviction, regardless of whether a Prejudgment Claim of Right to Possession was served.) (See CCP 415.46
                          and 1174.3(a)(2).)

           (4) If the unlawful detainer resulted from a foreclosure (item 24a(3)), or if the Prejudgment Claim of Right to Possession was
               not served in compliance with CCP 415.46 (item 24a(2)), answer the following:

                 (a)       The daily rental value on the date the complaint was filed was $
                 (b)       The court will hear objections to enforcement of the judgment under CCP 1174.3 on the following dates (specify):



      b.       Possession of personal property.
                     If delivery cannot be had, then for the value (itemize in 24e) specified in the judgment or supplemental order.
      c.       Sale of personal property.
      d.       Sale of real property.
      e. The property is described:       Below        On Attachment 24e




EJ-130 [Rev. January 1, 2018]                                 WRIT OF EXECUTION                                                           Page 2 of 3
                           Case 3:16-cv-03463-WHA Document 259 Filed 10/09/20 Page 3 of 3

                                                                                                                                  EJ-130
                                                                                             CASE NUMBER:
    Plaintiff: Straight Path IP Group, Inc.
Defendant: Cisco Systems, Inc.                                                                3:16-cv-03463-WHA



                                                     NOTICE TO PERSON SERVED

WRIT OF EXECUTION OR SALE. Your rights and duties are indicated on the accompanying Notice of Levy (form EJ-150).


WRIT OF POSSESSION OF PERSONAL PROPERTY. If the levying officer is not able to take custody of the property, the levying
officer will demand that you turn over the property. If custody is not obtained following demand, the judgment may be enforced as a
money judgment for the value of the property specified in the judgment or in a supplemental order.


WRIT OF POSSESSION OF REAL PROPERTY. If the premises are not vacated within five days after the date of service on the
occupant or, if service is by posting, within five days after service on you, the levying officer will remove the occupants from the real
property and place the judgment creditor in possession of the property. Except for a mobile home, personal property remaining on the
premises will be sold or otherwise disposed of in accordance with CCP 1174 unless you or the owner of the property pays the
judgment creditor the reasonable cost of storage and takes possession of the personal property not later than 15 days after the time
the judgment creditor takes possession of the premises.


EXCEPTION IF RENTAL HOUSING UNIT WAS FORECLOSED. If the residential property that you are renting was sold in a
foreclosure, you have additional time before you must vacate the premises. If you have a lease for a fixed term, such as for a year, you
may remain in the property until the term is up. If you have a periodic lease or tenancy, such as from month-to-month, you may remain
in the property for 90 days after receiving a notice to quit. A blank form Claim of Right to Possession and Notice of Hearing (form
CP10) accompanies this writ. You may claim your right to remain on the property by filling it out and giving it to the sheriff or levying
officer.


EXCEPTION IF YOU WERE NOT SERVED WITH A FORM CALLED PREJUDGMENT CLAIM OF RIGHT TO POSSESSION. If you
were not named in the judgment for possession and you occupied the premises on the date on which the unlawful detainer case was
filed, you may object to the enforcement of the judgment against you. You must complete the form Claim of Right to Possession and
Notice of Hearing (form CP10) and give it to the sheriff or levying officer. A blank form accompanies this writ. You have this right
whether or not the property you are renting was sold in a foreclosure.




EJ-130 [Rev. January 1, 2018]                             WRIT OF EXECUTION                                                      Page 3 of 3




For your protection and privacy, please press the Clear    Print this form       Save this form                        Clear this form
